  Case 3:17-cr-00127-CCC     Document 42   Filed 10/30/17   Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                   CRIMINAL 17-0127-01CCC
vs
1) RAUL J. RODRIGUEZ VIDAL
Defendant


                                   ORDER

     Having considered the Report and Recommendation filed on October 11,
2017 (d.e. 37) on a Rule 11 proceeding of defendant [1] Raúl J. Rodríguez
Vidal before U.S. Magistrate-Judge Marcos E. López on August 30, 2017, to
which no objection has been filed, the same is APPROVED. Accordingly, the
plea of guilty of defendant is accepted. The Court FINDS that his plea was
voluntary and intelligently entered with awareness of his rights and the
consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since August 30, 2017. The sentencing
hearing is set for DECEMBER 1, 2017 at 4:30 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
  Case 3:17-cr-00127-CCC    Document 42     Filed 10/30/17   Page 2 of 2




CRIMINAL 17-0127-01CCC                  2

unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on October 30, 2017.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
